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13
14                       UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
15
16   KELVIN HERNANDEZ ROMAN,                 )   Case No. 5:20-cv-00768
     MIGUEL AGUILAR ESTRADA,                 )
17   BEATRIZ ANDREA FORERO                   )   ADELANTO COVID
     CHAVEZ, on behalf of themselves and     )
18   others similarly situated,              )   PETITIONERS’-PLAINTIFFS’
                                             )   [PROPOSED] ORDER
19               Petitioners-Plaintiffs,     )   GRANTING MOTION FOR
                                             )   PRELIMINARY INJUNCTION
20   v.                                      )
                                             )
21   CHAD F. WOLF, Acting Secretary, U.S. )
     Department of Homeland Security;        )
22   MATTHEW T. ALBENCE, Deputy              )
     Director and Senior Official Performing )
23   the Duties of the Director, U.S.        )
     Immigration and Customs Enforcement; )
24   DAVID MARIN, Director of the Los        )
     Angeles Field Office, Enforcement and   )
25   Removal Operations, U.S. Immigration    )
     and Customs Enforcement; and JAMES )
26   JANECKA, Warden, Adelanto ICE           )
     Processing Center,                      )
27                                           )
                  Respondents-Defendants.    )
28                                           )
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1            After consideration of the briefs and arguments of counsel, the evidence filed
2     in support of and opposition to Plaintiffs-Petitioners’ Motion for Preliminary
3     Injunction Court, and being fully advised, the Court finds that Plaintiffs-Petitioners
4     have met their burden of demonstrating a need for preliminary injunctive relief in
5     this case.
6            Accordingly, IT IS HEREBY ORDERED THAT Plaintiffs-Petitioners’
7     Motion is GRANTED as follows:
8        1. The Court concludes that Plaintiffs-Petitioners’ have met their burden of
9            showing: (1) a likelihood of success on the merits of their claim under the
10           Due Process Clause of the United States Constitution; (2) that the continued
11           detention of Class members under current conditions of detention at Adelanto
12           is causing and will cause irreparable harm to Class members absent
13           preliminary injunctive relief; and (3) that the balance of equities and the
14           public interest weigh in Plaintiffs-Petitioners’ favor. Accordingly, a
15           preliminary injunction pursuant to Federal Rule of Civil Procedure 65 and the
16           inherent equitable powers of this Court is warranted.
17       2. The Court HEREBY DECLARES that conditions of confinement for all
18           individuals held at the Adelanto Detention Facility are currently
19           unconstitutional under the Fifth Amendment because they do not permit
20           social distancing as necessary to minimize infection with COVID-19.
21       3. It is hereby ORDERED THAT:
22                 a. Within 72 hours from the date of this Order, Defendants shall obtain
23                    from every class member the address at which they would reside if
24                    released and contact information for a responsible adult with whom
25                    they would reside at that location, if any, using a form to be created by
26                    Plaintiffs’ counsel and approved by the Court;
27                 b. Within 72 hours from the date of this Order, Defendants shall provide
28                    the Court and Plaintiffs’ counsel with the information obtained

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1                 pursuant to the preceding paragraph, as well as the following
2                 information about each individual currently detained at Adelanto:
3                 name, A number, age, medical conditions, and criminal history;
4              c. Within 72 hours from the date of this Order, Defendants shall notify all
5                 class members of a phone number and email address at which they can
6                 reach class counsel, post the phone number and email address
7                 prominently in all dorms, as well as all rooms where telephones or
8                 computers are available for class members’ use, and ensure the
9                 availability of facilities for free and confidential telephone calls and
10                emails between class members and class counsel;
11             d. Beginning 72 hours from the date of this Order, this Court shall
12                consider on an expedited basis individual applications for release filed
13                under this Order by class counsel, as follows:
14                   i. Each application should provide the information set forth in
15                      subparagraph 3.b above and any other relevant information, and
16                      should not exceed two pages (excluding any supporting
17                      documentation) absent exceptional circumstances;
18                   ii. Defendants may respond to each application in 24 hours, but
19                      such responses shall not exceed two pages (excluding any
20                      supporting documentation);
21                  iii. Replies in support of applications are strongly disfavored;
22             e. Defendants may, at any time, submit a motion seeking relief from this
23                Order on the ground that they have reduced the Adelanto Facility’s
24                population sufficiently to allow the remaining detainees to practice
25                effective social distancing and personal hygiene, provided that such
26                Motion shall state the facility’s population and include a declaration
27                from a public health expert attesting to what social distancing practices
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1                 have been implemented through the population reduction and other
2                 measures;
3              f. No security shall be required.
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7     Dated:
8                                            United States District Court Judge
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